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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                     :
                                                             :
                                                                 ORDER
v.                                                           :
                                                             :
                                                                 19 CR 114-1 (VB)
SANTOS ALVARADO,                                             :
                           Defendant.                        :
-------------------------------------------------------------x

        Sentencing in this case is scheduled for February 19, 2020, at 11:30 a.m. Because of
the current public health emergency, the Court will conduct sentencing by telephone conference
call. Defendant has consented to proceeding in this fashion, and the Court expects to make the
required CARES Act findings at the time of sentence.

       All counsel and defendant shall attend by calling the following number and entering the
access code when requested:

        Dial-In Number: (888) 363-4749 (toll free) or (215) 446-3662

        Access Code: 1703567

Dated: January 12, 2020
       White Plains, NY
                                                     SO ORDERED:



                                                     ____________________________
                                                     Vincent L. Briccetti
                                                     United States District Judge




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